Case 1:01-cr-01001-LAK Document 90 Filed 01/12/21 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

S—=— = ES Ee aa eee eee ee 4
UNITED STATES OF AMERICA ¢ ORDER
- Ve. - : 20 Cr. 587

O1 Cr. 1001-05
VICTOR MANUEL FIGUEROA
MOLINEROS,
a/k/a “Victor Manuel Figueroa,”
a/k/a “Victor Capi,”
a/k/a “Victor Figueroa,”
a/k/a “Victor M. Figueroa,”
a/k/a “Capi Figuero Molineros,”
a/k/a “Primo Figueroa-Molineros”
a/k/a “Tio Figueroa-Molineros”
a/k/a “Victor Primo”

Defendant.

WHEREAS, the Court has referred to the Magistrate Judge on
duty the change-of-plea proceeding for defendant VICTOR MANUEL
FIGUEROA MOLINEROS;

WHEREAS the defendant has requested that his guilty plea be
taken remotely by video conference or by telephone conference, if
video conference is not reasonably available;

WHEREAS the ongoing COVID-19 pandemic necessitates that the
proceeding take place remotely;

WHEREAS the Coronavirus Aid, Relief, and Economic Securities
Act, findings made by the Judicial Conference of the United States,
and the December 25, 2020 Third Amended Standing Order of Chief

Judge Colleen McMahon of the Southern District of New York allow

 
Case 1:01-cr-01001-LAK Document 90 Filed 01/12/21 Page 2 of 2

for guilty pleas to be taken by video teleconference, or telephone
conference if video teleconferencing is not reasonably available,
subject to certain findings made by the District Judge;

WHEREAS the Court understands that the Magistrate Judge on
duty shall hear the defendant's plea by telephone if
videoconference is not reasonably available;

THE COURT HEREBY FINDS that because defendant VICTOR MANUEL
FIGUEROA MOLINEROS has consented to proceeding remotely and for
the reason set forth by defense counsel in the parties’ letter of
January 11, 2021, the plea proceeding cannot be further delayed
without serious harm to the interests of justice and may proceed
remotely by telephone conference.

SOQ ORDERED.

Dated: New York, New York
January 14/7 2021

  

_ |
HONORABLE LEWIS W. VKAPLAN
UNITED STATES DISTRICT JUDGE

SOUTHERN DISTRICT OF NEW YORK

 
